     Case: 3:24-cv-50229 Document #: 20 Filed: 01/23/25 Page 1 of 1 PageID #:64

                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.2)
                                Western Division

Brian Muniz
                              Plaintiff,
v.                                                Case No.: 3:24−cv−50229
                                                  Honorable Rebecca R. Pallmeyer
GPM Midwest LLC
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 23, 2025:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Pursuant to
Stipulation of Dismissal [19] and Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this
case is dismissed with prejudice. Each party to bear their own costs. Status hearing set for
1/23/2025 is stricken. Civil case terminated. Mailed notice. (cp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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